           Case 2:15-cv-02245-WBS-AC Document 152 Filed 12/08/21 Page 1 of 2


 1   Mark Holscher (SBN 139582)
     mark.holscher@kirkland.com
 2   Tammy A. Tsoumas (SBN 250487)
     tammy.tsoumas@kirkland.com
 3   KIRKLAND & ELLIS LLP
     2049 Century Park East
 4   Los Angeles, CA 90067
     Telephone:    (310) 552-4200
 5   Facsimile:    (310) 552-5900
 6   Attorneys for Defendants Aerojet Rocketdyne
     Holdings, Inc. and Aerojet Rocketdyne, Inc.
 7
     Gregory A. Thyberg (SBN 102132)
 8
     greg@thyberglaw.com
 9   THYBERGLAW
     3104 O Street #190
10   Sacramento, CA 95816
     Tel: (916) 204-9173
11
     Attorney for Relator Brian Markus
12

13
                                  UNITED STATES DISTRICT COURT
14
                                 EASTERN DISTRICT OF CALIFORNIA
15

16   UNITED STATES OF AMERICA ex rel. BRIAN      ) Case No. 2:15-cv-02245-WBS-AC
     MARKUS, individually,                       )
17                                               ) ORDER GRANTING STIPULATION TO
                   Relator,                      ) RESET THE HEARING ON THE
18                                               ) PARTIES’ RULE 56 MOTIONS
            vs.                                  )
19                                               )
     AEROJET ROCKETDYNE HOLDINGS, INC., a )
     corporation and AEROJET ROCKETDYNE, INC., a )
20   corporation,                                )
21                                               )
                   Defendants.                   )
22                                               )
                                                 )
23

24

25

26
27

28
                                      1
     ORDER GRANTING STIPULATION TO RESET THE HEARING ON THE PARTIES’ RULE
                                 56 MOTIONS
          Case 2:15-cv-02245-WBS-AC Document 152 Filed 12/08/21 Page 2 of 2


 1         Upon consideration of the Parties’ Joint Stipulation to Reset the Hearing on the Parties’ Rule 56
 2   Motions, and good cause appearing, IT IS HEREBY ORDERED THAT:
 3         The hearing on the Parties’ Rule 56 motions is set for January 24, 2022 at 1:30 p.m.
 4         IT IS SO ORDERED.
 5

 6
           Dated: December 7, 2021
 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28
                                      1
     ORDER GRANTING STIPULATION TO RESET THE HEARING ON THE PARTIES’ RULE
                                 56 MOTIONS
